, Case ESOS Document 1-1

1 ERNEST A, TOLIN
United States Attornay
2 ST sy
BET TY MARSHALL GRAYDOW a8 aig mut eel ny
3 Assistant U, 5, Attornay busy Penal
S25 West "i" Street one
4 || san Diego 1, California JAN 22 1954
5 Telephone; F 9-410} :
&ttorneys for Plaintiff
\ 6 DEPUTY CLERK
\o
he 8 IN THE UNITED STATES DISTRICT cout
9 IN AND FoR THE SOUTHERN DISTRICT oF ‘CALIFORNIA
id SOUTHERN DIVIS TOM...
11
iz UNITED STATES oF AMERICA, ).
)
13 Plaintiff, } No. / 4 <& 7
)
14 Vs
15 || RALLBROOK PUBLIC UTILIEY DISTRICT, a )
public service corporation of the 3
16 . State of California; )
|| SANWEA MARGARITA MUTUAL WATER COMPANY, « }
i7 public service corporation of the ) COMPLAINT.
18 State of California; }
VAIL COMPANY, a corporation, MARY VAIL )
19 WILKINSON, MAHLON VAIL, EDWARD N, )
VAIL, MARGARET VAIL WISE, and NIA )
20 M. VAIL, Trustess: )
FRATT MUTUAL WATER COMPANY, a-corporation, )
21 and H, §, PRATT, DON c,. PORTER and )
FLORENCE CLEMENS; )
29 ERNEST LOUIS BARBEY; ESSIE BUBLAH BARBEY ; )
JAMES OVIATT; ANNIE E. BERGMAN, A.K.A, | )
23 || A. H. BERGMAN; HAROLD BRINKEROFF; )
HILDEGARD B, DUBNER, AKA. H. By DUBNER; )
24 EDWARD F, TYRRELL; JOHN ¢, TYLER; 5
JOH H, RICHIE; MARIE L. RICHIE; FRANK }
25 | L. JOHNSON; N. L. LOWMAN; J. C. PATTEN; )
| WILLIAM W, COTTLE; KATHERINE C, GTBBONS; }
26 | JOHN BARTON; IRENE BARTON; 0. A. BERGMAN; )
. JAMES FP, BERGMAN; MINNIE BERGMAN; FRANK - }
27 || 4. PAYNE; DORIS A, PAYNE; MADELTENE )
THURBER; CARL FELLER; RUTH WENTWORTH: )
28 A. H. BUCKLEY; DOWNTOR PROPERTINS, INC., }
@ corporation; ERNEST P, BURLEY; PRANK )
29 || CAPRA; A, F. BOREL; FELIZ R, GARNSEY; )
ISRAEL WANETICK and JATUE PORTENY; ):
SO | VICTORIA M, BARNES and FLORA Cox; )
VICTORIA M, TOOK; EVERT L. BARNEY; )
31 ROTH E, BARRE; HARRIETT PAYNE; )
52 BE. H, HEYDEURBICH; D. G. VEAZEY; )

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\ : .
lj A. ¥. STUDER; H.R. TAYLOR; HH. Moc, )
HOSSEIN; MRS, GUS WEBER; M, M. LLOYD end }
2 E,W. LLOYD; C. A. KLINE; By L. BErTS; )
S. R, MEDRAN and Mi, NEDRAN; )
3S || DOB ONE; DOB TWO; DCE THREE; )
DQ FOUR; DOH FIVE; DOe SIk; )
4 | DOB SEVEN; DOE BIGHT; DOB NINE; }
DOE TEN; DCE ELEVEN; DCE TWELVE; )
5 | DOB THIRTEHN; DOE FOURTEEN; )
DOE FIFTEEN; DOE SIXTHEN; - )
6 | DCE SEVENTEEN; DOS BIGHTEEN; )
DOE NINETEEN; DOB TWENTY; )
7 | DOB TWENTY-ONE; DOR TWENTY-TWO; )
DOE TWENTY-TH REE; DGB TWENTY-FOUR; )
8 |) and DOE TWENTY-FIVE;
9 )
Defendants, )
10 _
11
12
13
14 The UNITED STATES OF AMERICA. by As DEVITT VANECH, Assistant
15 j Attorney General, ERNEST A, TOLIN, United States Attorney, Sowthern District
16 | of california, BETTY MARSHALL GRAYDON, Assistant United States Attorney,
17 and WILLIAM H . VEEDER, Special Assistant to the Attorney General, acting -
18 under the authority of the Attorney General of the United States and at the
19 request of the Secretary of the Department of the Navy, compleins and alleges
0
2 aa follows:
21
22 The defendants DOE ON# to and including DOS TWENTY-FIVE are sued
25 heréin by sald fictitious names for the reagon that their true names ere
2A wiinown to pleintiff:; and plaintiff.aske that when their true names are
25 ascertained, leave of court be given to amend by inserting their true nemea
26 in plece of said fictitious named.
27
- 28 qe
29 This ia a civil action brought purauant to the provisions of
30 | 28 U.S.c. 1345, ip which the United States of America, an actusl controversy
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_ Case 3:51-cv-01247-JO-S

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having arisen between the United States of America and the defendants named
herein, seeks to have declared its rights to the use of water in the Santa
Margarita River and its tributeries, a natural stream, hereafter referred to
as the Santa Margarita River, as those rights relate to the defendants nained
in this complaint; to have this Court quiet its title to those rights to the
use of water in the Santa Margarita River against the defendants named in thig
complaint and to enjoin the unlawful interference by the named defendants

with. those rights.

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camp Joseph He Pendleton, located near Oceanside, California,

the United States Naval Ammunition Depot, Fallbrook, California, and the

_ United States Naval Hospital, ‘located at Camp Joseph He Pendleton, situsted

in the Counties of gan Diego and Orange, State of California, are military
establishments of the United States of America and vital to the National
Defense. Sites for those military installations acquired by the United
States of America in the years 191, 1942 and 19h3, are comprised of
approximately 135,000 acres of land in the aforesaid counties of the State

of California, In excess of $100,000,000, 00 of federal funds have been

expended in the development of those military establishments and the

construction of the needed facilities to the end that those properties
could be utilized for the military purposes for which they were acquired.
Fee simple title to the properties in question now resides in the United
States of America,

The site for the establishment of Camp Joseph H. Pendleton
by the United States of America was selected, by reason of the unique
combination of the availability of a supply of water from the Santa Margarita -
River; sufficient land of suitable character to provide housing and training

facilities for units of the Armed Forces 5 &@ beach on the Pacific Ocean

. adequate for the training of units of the Armed Forces in amphibious warfare

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1 and experimental work with janding craft, landing vehicles, tracked and
2 affiliated equipment and the development thereof, and a climate which made
3 possible year around land and anphibious training,
4 (a) It is tne function of Camp Joseph He Pendleton to provide
5 housing and training facilities for units of the Armed Forces, to conduct
6 training of units of the Armed Forces in amphibious warfare and experimental
7 work with landing craft, landing vehicles » tracked and affiliated equipment
8 and the development thereof; to conduct combat training of the various units
9 of the United states Marine Corps, including air-ground support coordination,
102 _—and-use—of-artidlery;—tanks-and-other -equipment-used~in “the conduct of
11 modern amphibious and land warfare. Jn addition to the aforementioned
12 activities, it is the function of Camp Pendleton to provide logistic support
13 for units of the United States Marine Corps together with material maintenance
14 and storage facilities for supplies and equipment and to house and train
15 replacements for subsequent assignrent to various operating units ot the
16 United States Marine Corps.
17 (b) The United States Naval Hospital, with a capacity of
18 approximately 1,550 beds, established at Camp Joseph H. Pendleton, provides
19) medical and hospital services to personnel of the Armed Forces, their .
20 dependents and other ‘authorized personnel at 83 Naval shore activities.
21 located in the southern California area and provides medical and hospital
ae care to personnel of units’ of the United States Fleet,
23 (c) The United States Naval Ammunition Depot, Fallbrook, California,
24 provides facilities for the ‘storage 9 Segregation, reconditioning and isswing
25 | of ammmition for operating units of the United states Fleet and the United
26 States Marine Corps and maintains ammunition stocks for shore establishments
27 of the United States Navy located in the Southern California area. In
28 addition, this Naval aniifand tion Depot stores and ships ammmition for use
29 “by combat elements of the United States Navy and United States Marine Corps,
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yvF Oo © OO NYO wm bb aN ES oon A DW a Ww ta 3

-|-referred—to—in-the~preceding-paragraphs;—subject tw exeeptiona not here

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No other site on the entire West Coast provides those essential |
factors requisite to properiy perform the functions assigned to those
military establishments and the absence of any one of the essential factors
’ would render impossible the proper performance of functions of those

military establishments.

ITI.
Exclusive jurisdiction now resides in the United States of

America over all of the properties constituting the military. establishments

involved, by reason of cessions to it by the State of California,

TV.

Source of the all-important supply of water for camp Joseph He
Pendleton, the Naval fomunition Depot and the United States Naval Hospital,
as indicated, is the Santa Margarita. River. That stream, which is known
in its upper reaches as the Temecula, rises in the Coastal Range in the
western extremities of Riverside Gounty, State. of California, and proceeds
in a generally westerly direction where it crosses the boundary of Riverside
County and enters San Diego County. From that point it continues in a
generally southwesterly direction across San Diego County, where it empties.
into the Pacific Ocean. Highly significant in regard to the claim which the
United States of America states against the named defendants is the fact
that the santa Margarita River in its course traverses approximately 21 miles
of the site of Camp Joseph H. Pendleton and the Naval Ammunition Depot before
it enters the Ocean. There are no users below Camp Joseph H. Pendleton on
that stream for the United States owns the Lands the entire distance from the
point where the ganta Margarita River enters upon the sites of the military

establishments mentioned and the point where that river enters the Pacific

Ocean,

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, Case 3:51-cv-01247-JO-SB

1 the Santa Margarita River ig an intermittent stream, It does not

& || flow as a continuous surface stream, but in the dry seasons of the year

3 || the surface stream customarily and ordinarily disappears, when not .

4 artificially interfered with, at a point on the lands of the United States :

5 of America at approximately eight miles from the Qcean, sinking into the

6|| sands and gravel of its bed and channel, Later it reappears as a surface stream

7} two or three miles below, thence flowing as a surface stream but diminishing

8] in volume to its confluence with tidewater,

9 Underlying the river and its tributaries is a vast underground
10-j-basin,_..That_basin .is-comprised--of_pervious-material, -sands,--gravel;- boulders _
11 | and other fluvial deposits, to the depth of several hundred feet. The
12 || basin as a whole creates a large underground reservoir into which a high
13 || proportion of the santa Margarita River sinks. In the dry seasons the
14] river entirely disappears into the basin, reappearing on the surface across
15} the artesian area. This vast subterranean reservoir constitutes one of the
167 principal sources of water for the military purposes declared above. However,
17: the encroachments by the defendants threaten the destruction of this basin
18 by reason of salt water intrusion from the Pacific Ocean. Already two wells
19 || have been destroyed by reason of that intrusion and the entire basin, as
20] stated, is threatened. Not only nave the activities of the defendants,
el) through their encroachments upstream, reduced the quantities available to
221 the United States of America from the mentioned subterranean sources, but
23 | there has been a like reduction in surface flow of the ganta Margarita River
24 through the encroachments of the defendants.

25
26 ve
aT By an adjudication suit tried over a period of three years and°
28 actually consuming 4, court days, the Rancho Santa Margarita, predecessor
29 in interest of the United States of America in regard to the properties
30 | here involved, had adjudicated its rights in the santa Margarita River.
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It was found by the trial court that the Rancho Santa Vargarita, predecessor
in interest of the United States of america, owned 38,739 acres of land
riparian to the stream in question. That court likewise found that the
normal flow of the river is insufficient for all of the riparian needs of
Rancho Santa Margarita, predecessor in interest of the United States of
America, Likewise found was the fact that 12,375 acres of those riparian
lands were capable of and adapted to practical and profitable irrigation.
Equally important is the fact that 30,289 acre-feet of water per annum from

the Santa Margarita River was useful, valuable and necessary. Premised upon

court when the matter was on appeal before it, the parties to that litigation
concluded their differences, declared their rights, and fixed their aliquot
shares of all of the waters of the Santa Margarita River. Attached hereto
is a copy of that stipulated judgment, marked Exhibit & and by reference

incorporated into this complaint.

Vie
AS successor in interest of the Rancho Santa Margarita, a party
to the above-mentioned adjudication proceeding and to the stipulated judgment,
the United states of America ig entitled to, and claims ali rights, titles,

interests, and privileges of said Rancho Santa Margarita.

VIT.

Camp Joseph H. Pendleton is the .only Marine Corps establishment
located on the West Coast of the United States with facilities adequate to
receive and train replacements and other military personnel in all phases
of amphibious and land warfare for later assignment to combat forces of the -
United States Marine Corps now engaged in warfare in the Far Hast. In order
that the warfare may be successfully prosecuted it is essential that there be
maintained at all times an adequate supply of water at this great military

establishment which is so vital for the National pefense,

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-{ the findings-of the-triel court-and-upon-the’ decision of ‘California's highest 17 “

, Case 3:51-cv-01247-JO-SB

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1 Moreover, the United States Naval Hospital above described is
2 presently utilized and, will in the future be utilized to care for combat
3} casualties from the Korean conflict. The United States Naval Ammunition Depot
4|| above described is now utilized for the purpose of supplying gumunition to
5|| all elenents engaged in the Korean conflict, ,
5 :
7 VIII.
8 those rights to the use of water described above have, since the
9] acquisition of the property to which those rights are appurtenant, been
- 10-||-—appLied—te—a. véneficial-and. -consumptive—use- by—-the--United:- -States- of America---—--|- a
11 in the performance of the varied functions of the military establishments
12 more particularly mentioned in Paragraphs II and VIT hereof. ALL of the water
13 || which was accorded to the Rancho Sante Margarita by the stipulated judgment is
14|| required to supply the requirements of Camp Pendleton, the United States Naval
15 Hospital and the Naval Ammunition Depot. To meet the great demands arising
16 || from these military installations for military, agricultural and other needs,
17 the United States, as against the defendants herein named, asserts that it po
18/ has a paramount right toe 35,000 acre-feet of water annually from the ganta .
i9 Margarita River. That quantity of water must be derived not only from the
20| surface flow which, as indicated, is intermittent, but must Likewise be :
el pumped from the great subterranean basin described in some detail in the
22 earlier paragraphs. For the purpose of this cause the United States of
23 | America, adopting the findings of the Supreme Court of the State of California,
24) corigiders and accordingly claims that the surface stream and subterranean basin
25 constitute a single souree of supply of water. During any period when the
26 quantity of water exceeds the military demands described in this paragraph,
27 || At is wtilings by the United states of america for agricultural purposes,
28 ah it was historically used by the Rancho Santa Margarita, predeosssor in —
29 interest of the United States of America. Though the agricultural use of
30 water varles as the demands for military uses fluctuate, the United states of
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1 | America, however, asserta its rights to the full use of water for agricultural
2] purposes as enjoyed by the above-mentioned Rancho Santa Margarita.
3
4 rx.
5 In direct violation of the rights of the United States of America
6| and in complete disregard of the need of the water in question for National
7 Defense, the defendants by reason of their diversions from the santa Margarita
8 River upstream from Camp Pendleton, have caused ths intrusion of salt water
9} from the Pacific Ocean as described above, to the irreparable damage of the
LO-;--United-States, They-have-likewise-repeatedly through ‘overt ‘adte displayéa 7 ~
11! their disregard for the rights of the United States of America and have
12 || declared their adverse claims in contravention of the rights of the United
13 | States of America. They have likewise repeatedly asserted that their rights,
14) though acquired subsequent to and with full knowledge of the rights of the
15 || United states, and its predecessor in interest, and the needs of the United
16| States for the military purposes mentioned, are paramount to the rights
17 || of the United States of America, and proceeded to encroach upon and now are
18 encroaching upon and threaten to continue to encroach upon the already
19 || insufficient supply of water required for the Nation's defense in connection
20 | with camp Pendleton, the United States Naval Hospital and the Naval ammunition
21 Depot.
22
23 WHEREFORE, in contemplation of the threatened destruction, by
£4 || the diversions and adverse claims of the defendants named, of the military
25 | installations above described so essential to our Nation's welfare, the
26 | united States of America prays:
27
28 1. That all of the defendants named in this action be required
29) to answer this complaint and set up fully their claims to the use of water
30 | from the Santa, Margarita River.
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1 2, That this court quiet the title of the United States of
2 | America in and to its rights to the use of water in the Santa Margarita
3 || River, and that it adjudge, declare and determine that all of the rights
4} of the United States of America in and to the Santa Margarita River are
5} paramount to the rights of the defendants herein named, and that the rights
6 || claimed by the defendants are subject and subordinate to the rights and
7 | interests of the United States of America, .
8 3+ That this Court declare and determine that all of the rights
9} of the United States of america are paramount and superior to those of the
_ 10 |_ named defendants by virtue of the riparian character_ofthe lands above_——-...— ojo... i Se
11 | mentioned and the ownership of them by the United States, and by reason of 4
12 || its acquisition of the above-mentioned yights fo the use of water and the
13} application of those rights to military purposes. ‘This Court is likewise
14], requested to declare as against the named defendants, that by reason of
15 || the nature of the rights of the United States and by reason of its
16} application of those rights to a beneficial use » and the great need for water
17 | to meet the military demands above described, the United states is entitled to
18 || take, use and enjoy without interference by the defendants all of said water
19] which it claims for the military needs above described, for agricultural
20 || purposes, and generally for the purposes which have been stated.
21 . That ail of the rights asserted by the defendants in this
22 cause to the waters of the Santa Margarita River are subject and subordinate
23 | to the rights of the United States of America to the continued flow
~ 24 | undiminished over, above, and through the Lands described, including the
£9) rignts of the United States of America in the subterranean basin to which
26 || reference has been made. .
at D+ That the United States of America, against the named defendants,
28 | as successor in interest to tha rights of the Rancho ganta Margarita, is
29 | entitled to enjoy each and every right, privilege and interést of said Rancho
30 | Santa Margarita, including the impounding of that water or any part of it if it ig
51 / found that the water may be better utilized by providing storage facilities.
32
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“y 6 The United States of America further prays that this court
2! not only quiet the title of the United States of America to the aforesaid
3 | rights as against the defendants, but. that it forever enjoin those defendants
4]| from encroaching or infringing upon or threatening to encroach or infringe
5 | upon the rights of the United stetes of America as hereinabove set forthe
6 7. The United States of America further prays that this Court
7 || provide such means for the enforcement of the decree sought by this complaint
8 | as may be necessary; and for such other further relief ag may be propere
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__.10. —_- — -
ll
Assistant Attorney General
12 . Washington, D. Ce.
13
14
id United States Attorney - -
, Tos Angeles, ca! fornia :
16 f ttl Yitey-lhis>
- BETTY S RAYDON, Asst, U<S.Attorne
17 Sen Diega, California omey
18 wate: fa SapER A Ves ea
Special Assistant to the Attorney General
19 / Washington, D. Ce
20 A
e1 heh ib Chany
DAVID W. AG -
22 | Attorney, Department of \Alic Navy . . Te
Washington, Ds. C. . : booty
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EXHIBIT Hat

Cosgrove & O'Neil, ' ‘O'Melveny & Myers,

1031 Rowan Bidge; 900 Title Insurance Bidg.;

458 Se. Spring St., 133 So. Spring St.,

Les Angeles, Calif. Iles Angeles, Calif.
Trinity 6656 Michigan 2611

Attorneys for Plaintiff Attorneys for Defendants.

IM THE SUPERIOR COURT Oi THE STATE OF CALIFORNIA

IN and For the County of San Diego

RANCHO SANTA MARGART'TA ~No. 42850

a& corporation
Plaintiff
vs.

W. R. Vail, Mary Vail Wilkinson,
‘Méhion Vail, Edward N. Vail,
‘Margaret Vail Bell, The Vail
Company, an association of persons
transacting business under that

“somite Nahe, NOR. Vail, Mary vail——

Wilkinson, Mahlon Vail, Edward N. STIPULATED JUDGUENT
Vail and Margaret Vail Bell, as
Trastees of said Vail Company,
Mahlon Vail, Executor of the Estate.
of Margaret R. Vail, Deceased, and
‘Laura Perry Vail, Executrix of the
Estate of William Banning Vail,
Deceased.

. Defendants.
Guy Bogart, Lucy Parkman Bogart
and Fred Reinhold, Executors of
the will of Murray Schloss, de-
ceased, and Philip Playtor,

Interveners.

Se el ite ee ee te

This cause came on regularly for trial in the above entitied court and depart-
ment thereof on Monday, October 18,5. 1926, at the hour of 10 200 o'clock Ae Me, be-
fore the court, Honorable L. D. Jennings, Judge, presiding; Messrs. Hunsaker, Eritt
& Cosgrove appearing as attorneys for the plaintiff, Messrs. Haas & Dunnigan, Messrs.
Ward, Ward & Ward, Messrs. Stephens & Stephens, and Messrs. O'Melveny, Milliken &
Tuller, appearing as attorneys for defendants, and falter Gould lincoln, Esqe,
appearing as attorney for intervenors. The introduction of evidence, oral and
documentary, being completed, arguments, oral and in writing, having been submitted,
the court having considered the same and being fully advised in the premises,
findings of fact and conclusions of law having been signed by the court and filed
with the clerk thereof » and judgment on said findings and conclusions haying been —

signed and entered; defendants and each of them thereupon appealed from said Judg~ |

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‘ment and from each part thereof, but said interveners

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did not appeal from said judgments; the Supreme Court of said State of California

upon said appeal having reversed said judgnent and directed a new trial upon cer-
tain issues designated in the opinion of said court reported Rancho Santa Margarita,
a corporation, vs. Margaret R. Vail, et al., La A. No. 15078, 11 cal. (2nd) 501,
and said plaintiff and defendants having stipulated to the entry of the following —
judgment, ,

Now, therefore, IT IS ORDERED, ADJUDGED AND DECREED that:

Section First; The plaintiff, Rancho Santa Margarita, a corporation, and
defendants, N. R. Vail, Mary Vail Wilkinson, Mahlon Vail, Bdaward Ne Vail, Margaret
Yall Bell, the Vail Company, an association of persons transacting business under .
that common name, Ne Re Vail, Mary Vail Wilkinson, Mahlon vail, Edward N. Vail and
Margaret Vail Bell, as Trustees of said Vail Conpeiny, Mahlon Vail, Executer of the ~~~ 7
estate of Margaret R. Vail, Deceased, and Laura Perry Vail, Executrix of the
Estate of William Banning Vail, Deceased, and interveners, Guy Bogart, Lucy Parkman
Bogart and Fred Reinhold, Executors of the Will of Murray Schloss, Deceased, and

Philip Playtor, have and each has rights in and to the waters of the “Temecula-

_ Santa Margarita River and its tributaries, and in and to the use of said waters for

ali beneficial and usefui purposes on their respective lands herein more specifically

‘ described,

Section Seconds The plaintiff is entitled to take and use upon the whole or

any part of its lands lying within the Rancho Santa Margarita ¥ Las Flores, san

Diego County, California, sixty-six and two-thirds per cent (66-2/3%) of the water
of said Temecula-Santa Margarita miver and all its tributaries which naturdlly,
when not artificially diverted or abstracted, flows and descends in -the channel ,
thereof at that certain joint gaging station hereinafter in this judgment designated
as Measuring. Station No. Six (6).

Section Third: Defendants are entitled to take and use upon the whole or any
part of their lands hereinafter mentioned, thirty-three and one-third per cent
(33-1/3%) of the water of said Temecula-Santa Margarita River and all its trib-
utaries which naturally, when not artificially diverted or abstracted, flows and

descends in the channel thereof at that certain joint gaging station hereinafter -

tesignated Measuring Station No. Six (5),

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The lands of the defendants herein referred to consist of those certain lands
in Riverside County, California, kmown as Pauba Grant, Lost A, B, Cy and D of \
Little Temecula Grant, or Rancho as shown on the Wolf partition map of Little
Temecula Grant as described in the final decree of partition in the case of Willian
Wold vs. Ramona Wolf, being Case No» 5756 in the Superior Court of San Diego County,
State of California, said fimal decree of partition being recorded in Book 199 of
Deeds, page héks at seq. » records of San Diego County, California, the southeasterly
approximately one-half of Temecula Grant, excluding therefrom the town site of the

t unincorporated city of town of Temecula and thé various parcels of land owned by
"persons other than the defendants herein, as shown by map entitled "Triangulation

Map of Pauba Ranch and Vicinity, Riverside County" received in evidence, in this
case and marked “Plaintiff's Exhibit No. U-1", which exhibit has been incorporated

inte and constitutes a part of the Transcript on Appeal in this action, (reference

“is hereby made to said Transcript and to said Exhibit No. U-l and by such reference

said exhibit is incorporated into and constitutes a part of this judgment), Santa
Rosa Grant, and Vail governments lands, which said Vail government lands, épprox-
imately four hundred sixty (460) acres in area, are more particularly described ast
Those certain lands lying within sections twenty-one (22), iwenty-seven (27),
twenty-eight (28) and twenty-nine (29) of Township ight (8) south, Range Two (2) west,
S. B. Be Mey Riverside County, Galifornia, and being more particularly identified
ag Lots Nineteen (19), Twenty (20), Twenty-one (21), Twenty-six (26) » Twenty-seven
(27), Thirty (30) and Thirty-one (31) of Block Fifteen (15), and those portions of
Lots Seventeen (17) and Eighteen (18) of said Flock Fifteen (15) lying without but
contiguous to the southeasterly boundary of Lot D of said Little Temecula Grante
Section Fourth: The intervener Philip Playtor is entitled to take and use
upon the whole or any part of his lands riparian to said Tenecula-Banta Margarita
River, as hereinafter delineated and defined, one (1) miner's.inch continuous flow
of the waters of said Tenecule-Santa Margarita River. The lands of said Philip
Playtor riparian ‘to said river are described as follows: The northwest one-quarter
(ww) of the southeast one-quarter (SE) and the south one-half ($4) of the
south one~half (8%) of section thirty-three (33) and the southewst one-quarter
(swe) of the southwest one-quarter (SWE) of section thirty-four (3h), Township

Eight (8) south, Range Three (3) West, S. B. Me, Riverside County, California.

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Section Fifth: The interveners Guy Bogart, Lucy Parkman Bogart and Fred
- Reinhold, as executors under the will of Murray Schloss, deceased, own certain
real property in San Diego County, California, of which approximately twenty (20)
apres are riparian to a certain tributary of said Temecula-Santa Margarita River
by the name of Stone Creek and are susceptible of practical and profitable irri-
gation with the water of said creek, said approximately twenty .(20) acres being
described as follows: The south one-half (54) of the northeast one-quarter (NEE)
of the northeast one-quarter (NEE) of section four (l) Township Wine (9) South,
Range Three (3) west, 8. B. Me, San Diego County, in said state. Said inter-
veners are entitled to take from the surface ‘and subsurface waters of said Stone

Greek and use the same on said twenty (20) acres riparian to said Stone Creek,

throughout said dry or trrigation season of each calendar year and from the lst
day of May of each year until the 31st day of October of the same calendar year,
the entire flow of the waters of said Stone Creek and all its tributaries which
naturalliy when not artificially diverted or abstracted, flows or descends in the... ve

channel thereof to and upon said twenty (20) acre parcel; and are entitled to take

from said Stone-Creek, during the rainy or winter season of each year, for use

upon site, fianty (20) aerés of riparian land for all beneficial purposes, five (5)
miner's inches continuous flow. . ,
Section Sixth: The waters of said stream and its tributaries herein apportion-
ed to the interveners shall be deducted from the fractional part of the waters of
. said stream herein allotted to plaintiff,
. Section Seventh: For the purpose of dividing among, and allocating to, the
parties 68 this action, the waters of the Temecula4Santa Margarita River and its
tributaries, at the places and in the mounts specified in this judgment, the
plaintiff and the defendants immediately shall establish, and thereafter shall
maintain jointly (ule es established and/or maintained by U. §. Geological Survey,
Division of Water Resources State Department of Public Works, or other public body),
stream-flow (automatically registering) gaging stations at the following three
locations on the Temecula-Santa Margarita River:
Station No. one (1}: The upper end of Nigger Canyon.at or near the present
location of the Nigger Canyon gaging station;
Station No. Three (3): The upper end of Temecula Gorge, immediately down-

stream from the confluence of Murrieta Creek, at or near the present location of

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the Temecula Gorge gaging station;
Station No. Six (6): The Narrows, at or near the present location of the
¥sidora gaging station,
And plaintiff and defendants shall establish and maintain jointly (unless
established and/or maintained by U, S. Geological Survey, Division of Water
Resources State Department of Public Works, or other public body), gaging stations
. for measuring (and automatically registering) the surface flow of said strean, or
any of its tributaries, at any point thereon where the plaintiff, the defendants,
or the interveners, or any of them, hereafter may construct or maintain appliances for
- the diversions of the surface flow of said stream, or any of its tributaries.
(The cost of establishing and.maintaining joint gaging stations as are required
ce ——~hereunder ;~inoluding~the~ taking of-measurenentis “and “observations théréof, shall be”
_borne equally by the plaintiff and the defendants, )
"Each party shall establish and maintain meters to determine and automatically
register the amount of the underground waters abstracted or diverted by such party
. from the underground waters of Tenecula-Santa Margarita River and/or its tributaries
by means of wells, either artesian or pumped {except windmill wells and/or dome stic
use wells of the parties and/or their tenants}; such meters shall be of a type
Which will meet the approval of both plaintiff and defendants or the approval of
either party and the engineer in charge of the Los Angeles office of the U. Se
Geological Survey, and shall be installed and maintained in such manner and place
as to be available for inspection by either plaintiff or defendants at all times.
Section Eighth: Whenever the total normal flow of said Temecula-Santa Mar-
garita River (when not artificially diverted or abstracted) neesured at gaging
station No. Three (3) exceeds the total normal flow measured at Gaging Station No.
Six (6), then and in that instance the flow of said stream at said Gaging Station
No. Three (3) shall be considered as the total flow of said stream, and at such time
the apportionments and allotments herein provided for shall be predicated upon the
flow of said stream at said Gaging Station No. Three (3).
Section Ninth: For the purpose of apportioning to defendants’ thirty-three and
one-third per cent (33-1/3%) of the waters of said stream as in Section Third pro
vided, it shall be deemed that an amount of water equal to one-half (1/2) the sur~

face flow at Station No. Six (6) or Station No. Three (3), wherever the flow is the

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greater (as provided in Section Eighth), pumped and/or diverted from the subsurface
and/or surface waters of said river at points upstream from said Station No. Three
(3), shall constitute thirty-three and one-third per cent (33-1/3%) of the waters
of said stream.
It is recognized that the practical operation of the various pumping plants |
. upon the defendants’ lands for irrigation makes it difficult, if not impossible,
for defendants to abstract and divert each day en amount of water the exact
equivalent of the proportion of the stream flow measured at Station No. Six (6)
or Station No. Three (3) to which defendants are entitled under this decree.
Accordingly, whenever it is observed that defendants are abstracting and diverting,

or have abstracted and diverted surface and/or underground waters in amounts in

wo. excess-of that—to-which—they—are- entitled-hereunder, defendants, Upoii 1sarning or

being informed of such fact, thereupon shall reduce their diversions below the
amount to which they are entitled under this decree, and shall continue such
reduced diversions for the same period of time as near as is practicable and in
an amount equivalent to the amount of water which defendants had diverted in
excess of that to which they were entitled umder this decree.

Section Tenth: In addition to the thirty-three and one-third per cent

(33-1/3%) of the waters of said stream herein in Section Third allotted to
defendants, they may also divert or abstract from the underground waters of said
Temecula~Santa Margarita River, but not from the surface waters of said stream,
at the places, during the times and upon the conditions hereinafter in this Section
specifically set forth, Hut not otherwise, a specified amount of subsurface water
herein in this judgment referred to as "Storage Water", The amount of Storage
| Water which the defendants may divert or abstract during any irrigation season, shall
be determined by the elevation of water (When not artificially disturbed) on May
ist of each year in a certain well located on defendants! land known as Windmill

Well, in accordance with the following tables

Depth to water below ground Amount of Storage Water
surface as shown in casing defendants: may divert and
of Windmill] Well on May 1st apply to beneficial use.
. during ‘irrigation season
20 feet or less 1,500 acre. feet
30 feet 1,125 acre feet
. Ho feet 750 acre feet !
50 feet 375 acre feet

60 feet or more No acre feet '

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At depths to water intermediate to those above stated proportionate quantities of
water may be taken, .

The spreading of flood water which does not involve

surface impoundment (either temporary or otherwise } but which may raise the level
of water in the underground basin in which said Windmill Well is drilled and upen
which said well is located, shall not be considered as an artificial disturbance of
the elevation of water in said Windmill Well. Storage water may be directed and
used only upon said lands of defendants hereinbefore described and not elsewhere.
For tine purpose of indicating the places at which said Storage Water may be
pumped, referemoa is hereby made to "Plaintaff's Exhibit iio. 265% Said Eehibit

by reference has been incorporated into and constitutes a part of the Transcript

‘on Appeal in this astion. ~Reférenes is hereby made to said Transcript and to __
said Bxhibit No. 265 and by such reference said Exhibit is incorporated into and
constitutes & part of this juagitent.

shown upon said Exhibit No, 265, and extending ina generally northerly and.

De southerly direction, is a certain line of wells (hereaf'ter referred to as the
line of wells) desiganted on said Exhibit as 2-3, [-2 North, E-1 North, E-l South
and H-2 South.

Hasterly thereof, shown upon said Exhibit, and extending in a generally north-
westerly and southeasterly direction, is a certain line of wells (hereafter referred
to as the P, V. line of wells) designated on said Exhibit as P.V.9, P.¥.6, and

P.V.6X. Immediately adjacent to said P.V. line of wells and parallel thereto, is
a certain highway comuonly known as Old Warners Ranch Road (now not in common use),

(a) Not more than Thirty per cent (30%) of said Storage Water which defendants
‘are entitled to pump during any irrigation season may be pumped from that portion
of defendants' lands lying between a line dram through said E line of wells and
extended across said underground basin, and a line drawn through said P.v. line
of wells and extended across said basin,

(b) At least seventy per cent (70) of said Storage Water which defendants
are entitled to pump during any irri gation season shall be pumped from that portion
of defendants! lands lying easterly of a line draw through said P. VY. line of
wells and extended across said underground basin.

The well hereinbefore described as Windmill Well is situated on Pauba Grant

South Sixty-seven degrees fifteen minutes (S$ 67 deg. 15 ming) Hast of BeMell a

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distance of approximately eleven hundred (1100) feet, and South forty-seven degrees

twenty minutes (8 47 deg. 20 min} West of BLM. 12 a distance of approkimately fif-

_ teen hundred eighty (1580) feet, said bench marks being designated as Nos. 11 and

12 on said Exhibit No. 265,

Should said Windmill Well collapse or otherwise cease to be avallable or
useful for the purpose of determining ground water elevations in the vicinity there-
ef, then another well shall be drilled by the defendants in the same general location,
at approximately the same ground surface elevation above sea level, but not to
exceed a distance of one hundred (100) feet from the location of said Windmill Well.

Such new well shall be approximately the same depth and diameter of casing as said

Windmill Well. In event the parties hereto are unable to agree upon location, ee

' parties hereto or either of them, shal]. be determined by order of this court.

depth and diameter of casing of such well, these matters, upon petition of the.

For the purpose of determining defendants! total diversions of the waters of

. f . - .
the Temecula-Santa Margarita River and its tributaries (meaning thereby to include

both the allotment of thirty-three and one third per. cent (33-1/34%) of the waters
of the river as defined in Section Third, and the additional Storage Water as
defined in this Section Tenth hereof), any water abstracted or diverted by defend-
ants from the underground waters of said river (including underground basins of
percolating water within the watershed of said river and its tributaries) by use of
wells or pumps or other means of diversion, whether now existing or hereafter

established, except as hereinafter in this section provided, shall be added to any

‘surface diversions by the defendants from the waters of said river. Such abstract-

ions by the defendants of the underground waters of the Temecula-Santa Margarita
River are, and for all purposes of this judgment shall be (except as hereinafter

provided) considered as diversions of the waters of said river, and are and shall

‘be chargeable against the fractional part of the surface flow of said stream and

the additional amount of Storage Waters herein allotted to defendants.

‘Water abstracted or diverted from said underground
Water of said viver which shall not be subject to the provisions of this section
are as follows:

is Windmill weils maintained by defendants for the purpose of supplying

_water for cattle,

2. Water used by defendants or their tenants for domestic use exclusively
(but not including any irrigation uge); >

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3. Waters which defendants may pump directly into the surface flow of said
stream pursuant to the requirements of Section Eleventh hereof.

Section Eleventh:

Part le During the irrigation season of each year, to wit, May 1 to October
31, inclusive, excepting as otherwise in Part 1 of this Section permitted, defendants .
shall cause to be maintained at Gaging Station No. Three (3) a constant flow of
water of not less than three (3) cubic feet per second (one (1) cubic foot per
second being the equivalent of fifty (50) miner's inches. )e

The surface flow at said Station No. Three (3) may be permitted to fall below
three (3) cubic feet per second during said irrigation season upon the following |

conditions and not otherwise: oF

oe "_4,-Said-surfacetlow-shal. not-be ‘permitted te fall” below ‘lire. (3) cubic

feet per second for any continuous period of more than ten (10) days:

2. An interval of at least ten (10) days shall elapse between periods during
which said surface flow falls below three (3) cubic feet per second;

3. Defendants shall contribute to the surface flow at Station No. Three (3},
by means of pumping from Temecula Alluvial Basin, or otherwise, an amount of water
equal to the amount that the actual flow during said period was less. than the re~
quired flow of three (3) second feet;

lh. Such contributions shall be made at the same rate and over the same period
{as near as practicable) as the rate at which said surface flow was less than
Three (3) second feets

5. Such contributions shall be made immediately following the period in which
said required flow of three (3) second feet was not maintained;

6» Defendants by means of pumping underground waters directly into the sur-
face flow of the stream or otherwise during any period in which said required
flow of three (3) second feet was not maintained, shall always maintain a constant
surface flow at Station No, Three (3) of not less than two (2) second feat,

_Part II: In the event that, during the irrigation season of any year, to wit,
May 1 to October 31, inclusive, the irrigation of crops on said lands of defendants
reasonably requires more water than they otherwise are entitled to take under

this decree, defendants may abstract and divert underground waters only, in

amounts in excess of that to which they are otherwise entitled hereunder. Such

excessive diversions may be made upon the following conditions and not otherwise:

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1. Excessive diversions shall not continue for a period to exceed eight (8)
days consecutively:

2. Following any period of excessive diversion, an interval shall elapse
before any further period of excessive diversion, which interval shall not be less
than the number of days during the period of excessive diversions immediately pre-
ceding;

3. Defendants shall reduce their diversions below the amount to which they
are otherwise entitled under this decree, such reductions to be “ini an anount not
less than the amount of water which defendants have diverted in excess of that to
which they ere otherwise entitled under this decree;

he Such reductions of their diversions shall be made by defendants amediately

following the period during which such excessive > diversions” were made and shali bee

completed within ten (40) days thereaf ters .
: s Defendants, at least one (1) day in advance of the commencement of such
diversions, shall], advise plaintiff in writing of their requirement and of their
intention to avail themselves of the privilege of excessive diversions afforded

under part JI of this Section.

Parts I and TI of this Section Hleventh are complementary one of the other

and not inconsistent one with the other and hereafter shall be so construed. ‘The
purpose of Part I is to require defendants to maintain a constant flow at Station
No. Three (3) of not ess than three (3) cubic feet per second excepting under
the conditions stated when the flow may be permitted to fall below three (3) cubic
feet per second but not below two (2) cubic feet per second, and when such diminution .
of the stream flow occurs the amount of such diminution shall be contributed by the
defendants by pumping directly into the surface flow of the stream from the
Temecula Alluvial Basin or otherwise, Part II permits defendants under the con-
ditions stated to use for short periods amounts of weter in excess of their allot=_
ment but requires’ them to contribute shortly thereafter the amount of such exces~
sive diversions by reducing (in an amount not less than the amount of such exces-
sive diversions) the amount of the diversions to which they are otherwise entitled,
No part of such excessive diversions is required ito be contributed by defendants
through direct pumping from the subsurface waters of the Temecula Alluvial Basin
into the surface flow of the stream if, during the period-of such excessive diver-

sions, the constant stream fiow at Station No. Three (3} equals or exceeds threa

(3) second feet. poe

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Section nwelfth: Defendants at all times shall be entitled to divert from
the Temecula-Santa Margarita River and its tributaries, and to apply to beneficial
use upon their said lands, an aiount of water equal to one-half the amount which the
plaintiff is entitled to divert from said river and its tributaries and apply to
beneficial use upon its lands.

For the purpose of determining the amount of water which defendants are en-
titled to divert and apply to such beneficial use, computations of the amount of
water diverted and applied to beneficial use by each of the parties hereto shall
be made monthly, based on joint measurements maintained as herein required. In

‘
event said measuremerits disclose that the amount of weter which defendants are

entitled to divert and apply to beneficial use pursuant to the provisions of this

judgment is less than one-half the amount...being- applied—to.-beneficial use-by—- 0 —— = =

plaintiff, thereupon defendants shall be entitled to increase their diversions and
applications to beneficial use to an amount sufficient to make defendants! diversions
and applications to beneficial use equal to one-half the amount diverted and

applied by plaintiff; provided, however, that such additional diversions and
applications, if and when made, shall be in addition to diversions made under
Sections Third and Tenth hereof, and shall be made by defendants during the
irrigation season in which such right accrues, or in the first subsequent seasony :
or part in the same season and the remainder in the first subsequent seagon, and

such diversion, if any, shall be made by pumping from the underground basin at
points easterly from said P. ¥. line of wells.

. Section Thirteenth: Each of the parties hereto shall have the right ‘to
‘construct dams or reservoirs on its or their respective lands or elsewhere, for the
purpose of intercepting or impounding or consefving such party's share of the flood
waters of said river and its tributaries; provided; however, in the event any ‘such
dam-or reservoir is hereafter constructed by defendants for such purpese, the rights
‘of defendants to dbstract and divert Storage Water pursuant to Section Tenth hereof
‘shall cease and terminate.

Defendants shall not make, during any irrigation season, any surface diversions
of the waters of said river at the ridge Pumping Plant, The Gantarini Pumping Plant

or the Tujie Pumping Plant referred to in the findings herein, or at any other point

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on said Temecula—Santa Margarita River below the point of Rising Water as shown
on said Exhibit Noe 265.

Section Fourteenth: The ‘plaintiff, Rancho Santa Margarita, a corporation,
shall have and recover of and from the defendants » its costs and disbursements
herein taxed at Six Thousand Thirty-six and 62/100 Dollars (#6,036.62)..

Dated at San Diego, California, this 26 day of December, 190.

Gordon Thompson

Judge

Records -inditate that this 5 judgment 4 was recorded in San + Diego and Riverside

“ Gounties on 26 December 19406

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